Case 1:04-cr-00363-SOM   Document 302   Filed 09/03/10   Page 1 of 15 PageID.2440



                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


 SCOTT STADNISKY,              )           CR. NO. 04-00363 SOM
                               )           CIV. NO. 10-00225 SOM/LEK
           Petitioner,         )
                               )           ORDER DENYING MOTION TO
      vs.                      )           VACATE, SET ASIDE, OR CORRECT
                               )           A SENTENCE BY A PERSON IN
 UNITED STATES OF AMERICA,     )           FEDERAL CUSTODY UNDER 28
                               )           U.S.C. § 2255
           Respondent.         )
 _____________________________ )


            ORDER DENYING MOTION TO VACATE, SET ASIDE, OR
              CORRECT A SENTENCE BY A PERSON IN FEDERAL
                    CUSTODY UNDER 28 U.S.C. § 2255

 I.         INTRODUCTION.

            In 2006, Scott Stadnisky was found guilty of conspiring

 to distribute and to possess with intent to distribute 50 grams

 or more of methamphetamine, its salts, isomers, and salts of its

 isomers.   This court sentenced him to 240 months of imprisonment.

 After an unsuccessful appeal, he now seeks to set aside his

 sentence under 28 U.S.C. § 2255 on the ground that his attorney

 was ineffective during trial and at sentencing.            This court

 denies the petition without a hearing and declines to issue a

 certificate of appealability.

 II.        STANDARD OF REVIEW.

            Under § 2255, a court may grant relief to a federal

 prisoner who challenges the imposition or length of his or her

 incarceration on any of the following four grounds: (1) that the

 sentence was imposed in violation of the Constitution or laws of
Case 1:04-cr-00363-SOM   Document 302        Filed 09/03/10   Page 2 of 15 PageID.2441



 the United States; (2) that the court was without jurisdiction to

 impose such sentence; (3) that the sentence was in excess of the

 maximum authorized by law; or (4) that the sentence is otherwise

 subject to collateral attack.          28 U.S.C. § 2255(a).

                  A § 2255 petition cannot be based on a claim that

 has already been disposed of by the underlying criminal judgment

 and ensuing appeal.     As the Ninth Circuit stated in Olney v.

 United States, 433 F.2d 161, 162 (9th Cir. 1970), “Having raised

 this point unsuccessfully on direct appeal, appellant cannot now

 seek to relitigate it as part of a petition under § 2255.”

            Even when a § 2255 petitioner has not raised an alleged

 error at trial or on direct appeal, the petitioner is

 procedurally barred from raising an issue in a § 2255 petition if

 it could have been raised earlier, unless the petitioner can

 demonstrate both “cause” for the delay and “prejudice” resulting

 from the alleged error.      As the Court said in United States v.

 Frady, 456 U.S. 152, 167-68 (1982), “[T]o obtain collateral

 relief based on trial errors to which no contemporaneous

 objection was made, a convicted defendant must show both (1)

 ‘cause’ excusing his double procedural default, and (2) ‘actual

 prejudice’ resulting from the errors of which he complains.”

 Id.; accord Davis v. United States, 411 U.S. 233, 242 (1973).                    To

 show “actual prejudice,” a § 2255 petitioner “must shoulder the

 burden of showing, not merely that the errors at his trial


                                         2
Case 1:04-cr-00363-SOM   Document 302       Filed 09/03/10   Page 3 of 15 PageID.2442



 created a possibility of prejudice, but that they worked to his

 actual and substantial disadvantage, infecting his entire trial

 with error of constitutional dimensions.”              Frady, 456 U.S. at

 170.

            A judge may dismiss a § 2255 petition if “it plainly

 appears from the motion, any attached exhibits, and the record of

 prior proceedings that the moving party is not entitled to

 relief.”   Rule 4(b), Section 2255 Rules.             A court need not hold

 an evidentiary hearing if the allegations are “palpably

 incredible” or “patently frivolous” or if the issues can be

 conclusively decided on the basis of the evidence in the record.

 See Blackledge v. Allison, 431 U.S. 63, 76 (1977); see also

 United States v. Mejia-Mesa, 153 F.3d 925, 929 (9th Cir. 1998)

 (noting that a “district court has discretion to deny an

 evidentiary hearing on a § 2255 claim where the files and records

 conclusively show that the movant is not entitled to relief”).

 III.       BACKGROUND.

            William Robert Clifford, Stadnisky, Daniel Myers, and

 Sloane Paglinawan allegedly conspired to distribute

 methamphetamine in Hawaii.      Transcript of Proceedings

 (“Transcript”) at 7 (Docket No. 211).             Stadnisky allegedly

 supplied methamphetamine to Myers in California, which Myers then

 shipped to Clifford for distribution on the Big Island.                 Id. at

 20-24.


                                        3
Case 1:04-cr-00363-SOM   Document 302       Filed 09/03/10     Page 4 of 15 PageID.2443



            In June 2004, Myers was arrested in California.                   Id. at

 41.   Left without his methamphetamine supplier, Clifford

 allegedly traveled to California to engage Myers’s supplier,

 Stadnisky, directly.      Id. at 43.       Stadnisky allegedly agreed to

 be Clifford’s supplier, bought Clifford a prepaid phone, and

 instructed Clifford to use that phone only when communicating

 with Stadnisky.     Id. at 66.

            After Clifford returned to Hawaii, Stadnisky allegedly

 sent him a few shipments of methamphetamine, each weighing two to

 three pounds.    Clifford allegedly distributed the drugs.                  Id. at

 78.

            In September 2004, Clifford was arrested after law

 enforcement agents seized a drug package that Stadnisky had

 allegedly shipped to Clifford.         Id. at 81.           Clifford agreed to

 cooperate with law enforcement, and toward that end, placed

 recorded phone calls to Stadnisky.            Id. at 100, 103-04.         During

 one phone conversation, Stadnisky indicated that he would send

 two additional pounds of methamphetamine to Clifford.                   Id. at

 107-08.

            On September 22, 2004, a grand jury returned a

 two-count Indictment charging Stadnisky, Clifford, and Paglinawan

 with drug-related offenses.      Stadnisky was arrested that day.

            Almost a year later, a grand jury returned a

 Superseding Indictment charging only Myers and Stadnisky with


                                        4
Case 1:04-cr-00363-SOM   Document 302       Filed 09/03/10   Page 5 of 15 PageID.2444



 having conspired, between August 2003 and September 11, 2004, to

 distribute or possess with intent to distribute 50 grams or more

 of methamphetamine.     Superseding Indictment, Docket No. 65 (Sept.

 1, 2005).    Stadnisky and Myers pled not guilty, and proceeded to

 trial.

             At trial, Clifford testified for the Government.                After

 a two-week trial, the jury found Stadnisky and Myers guilty.                  See

 Jury Verdict, Docket No. 144 (Feb. 17, 2006).                The court then

 requested a Presentence Investigation Report (“PSR”) and set a

 date for a sentencing hearing.

             The PSR calculated Stadnisky’s sentencing guideline

 range as being between 324 and 405 months of imprisonment.                  His

 total offense level was calculated at 36, and he was determined

 to be in criminal history category VI (with 16 criminal history

 points, only 14 of which were actually assessed).

             Stadnisky objected to the guideline calculation.                In

 pertinent part, Stadnisky argued in his sentencing statement that

 he should fall into criminal history category V, because many of

 his previous convictions were for misdemeanors that should not be

 included in the calculation of criminal history points.                 Id. at

 13.   Stadnisky also argued that mitigating circumstances, such as

 family responsibilities and addiction issues, warranted a

 variance from the guideline range.

             At the sentencing hearing on February 22, 2007,


                                        5
Case 1:04-cr-00363-SOM   Document 302       Filed 09/03/10   Page 6 of 15 PageID.2445



 Stadnisky’s attorney argued that convictions for petty

 misdemeanors should not factor into the calculation of criminal

 history points.     Sentencing Transcript (Docket No. 254) at 3.

            The court overruled Stadnisky’s objections, adopted the

 PSR as its findings, and concluded that Stadnisky’s sentencing

 guideline range was between 324 and 406 months.                Id. at 15-16.

 The court then stated:

            This is a case in which I’m seriously
            considering a sentence that is less than what
            the guidelines suggest, not because there is
            a reason stated in the guidelines for me to
            sentence to less, but rather because, when I
            look at all the circumstances I have in front
            of me, it seems to me that a sentence of less
            than what the guidelines suggest would be
            sufficient to meet the sentencing goals,
            including punishing Mr. Stadnisky.

                              . . . .

            And I’m actually thinking that a just
            sentence, a reasonable sentence in this case
            would be 240 months. That’s a significant
            sentence. It’s very long. . . .

                              . . . .

            The second issue is that, even though the
            criminal history was correctly computed under
            the guidelines and for guideline purposes
            doesn’t overstate what happened in his
            background, even though those are not being
            expunged, when I look at the kinds of
            offenses there and Mr. Standisky’s age at the
            time of the offenses, I don’t think that they
            justify a sentence in the range that the
            guidelines suggest. The guidelines count the
            points and they suggest a sentence. The
            guidelines cannot do the qualitative analysis
            of looking at the whole picture that this
            person presents.

                                        6
Case 1:04-cr-00363-SOM     Document 302       Filed 09/03/10   Page 7 of 15 PageID.2446




              We have, you know –- I’m not diminishing the
              seriousness of [Stadnisky’s prior
              convictions, including one for drunk
              driving]. People die because people drive
              while drunk; so I’m not diminishing that. .
              . . [B]ut this isn’t a case where I see a
              pattern of violence or escalating violence.
              So just looking at the whole context of what
              these are, seems to me that in the context of
              this case and of this person that that
              significant sentence I’m suggesting would be
              just punishment and would be reasonable.

 Id. at 17-19.

              Stadnisky’s attorney agreed:

              [W]hen we talk about Mr. Stadnisky’s prior
              criminal history, we’re talking about
              youthful driving under the influence charges,
              youthful speeding charges, youthful charges
              in terms of responses to police contact and
              police enforcement. . . . [A]s the court’s
              pointed out, they’re not the escalating
              violent type of offenses that one would see.
              They’re not the escalating criminal
              distribution-type offenses that the
              guidelines and the Sentencing Commission
              really looked at in determining the criminal
              history scores.

 Id. at 22-23.

              Standisky argued that an appropriate sentence would be

 144 months.    Id. at 28.      The court disagreed on the ground that

 such a sentence would not have reflected the difference between

 Stadnisky and co-conspirators who had substantially assisted the

 Government.    Id.      Stadnisky’s counsel responded that Stadnisky

 chose not to cooperate so that he could protect his loved ones.

 Id. at 29.


                                          7
Case 1:04-cr-00363-SOM     Document 302       Filed 09/03/10   Page 8 of 15 PageID.2447



            The Government disagreed with this court’s proposed

 sentence, arguing that because Stadnisky did not show remorse,

 accept responsibility, or apologize, he should not be given a

 lower sentence.     The Government stated, “The court’s suggested

 sentence gives him the benefit of having accepted responsibility

 for those crimes.”       Id. at 33-34.         The Government requested a

 sentence in excess of 240 months.

            This court sentenced Stadnisky to 240 months in prison

 and 5 years of supervised release.              Judgment was entered on March

 2, 2007.

            Stadnisky appealed, arguing, among other things, that

 the court had inaccurately calculated his guideline range,

 relying on a criminal history category that overstated his

 background.    United States v. Stadnisky, 309 F. App’x 185, 187

 (9th Cir. 2009).        The Ninth Circuit affirmed this court’s

 calculation of Stadnisky’s criminal history:

            Stadnisky was convicted 12 times between the
            ages of 19 and 28. The crimes included
            reckless driving and driving under the
            influence of alcohol and cocaine, offenses
            that seriously endanger others. Stadnisky
            was also convicted of helping a prisoner
            escape from prison, and of obstructing and
            resisting arrests by police officers.
            Perhaps most seriously, he was convicted at
            the age of 23 of having sexual intercourse
            with a minor under the age of 16. We find no
            error in the district court's criminal
            history category VI determination.

 Id.


                                          8
Case 1:04-cr-00363-SOM   Document 302       Filed 09/03/10   Page 9 of 15 PageID.2448



            Stadnisky now brings a § 2255 petition, arguing that

 his counsel was ineffective.      Specifically, Stadnisky says that

 his counsel “failed to raise an appropriate and winning argument”

 to persuade the court to reduce his criminal history category.

 Second, he says that his counsel failed to adequately advise him

 about the weight of the evidence against him and the guideline

 benefits of early acceptance of responsibility.                Stadnisky says

 that, but for his counsel’s unprofessional errors, he would have

 been in a lower criminal history category and had a lower total

 offense level, resulting in a guideline range of imprisonment

 between 168 to 235 months.

 IV.        ANALYSIS.

            Stadnisky argues first that his counsel was ineffective

 at sentencing with respect to the calculation of Stadnisky’s

 criminal history category.      Stadnisky has not established

 ineffectiveness.

            To prevail on an ineffective assistance of counsel

 claim, a petitioner must show both that his counsel’s performance

 fell below an objective standard of reasonableness, and that the

 deficiency in his counsel’s performance prejudiced him.

 Strickland v. Washington, 466 U.S. 668, 688, 692 (1984).                  There

 is a “strong presumption” that counsel’s conduct was reasonable.

 Id. at 689.

            Stadnisky does not establish unreasonable conduct by


                                        9
Case 1:04-cr-00363-SOM   Document 302    Filed 09/03/10   Page 10 of 15 PageID.2449



 his counsel or show that he was prejudiced by his counsel’s

 performance during sentencing.

             To the extent Stadnisky argues that his criminal

 history category was incorrectly calculated, that argument fails.

 The Ninth Circuit affirmed this court’s calculation of the

 criminal history category.

             Stadnisky maintains that his criminal history category

 was incorrectly computed because all but two of his offenses were

 misdemeanors.     The sentencing guidelines provide for a maximum of

 four previous convictions with sentences of less than 60 days to

 be counted in determining the criminal history category.               See

 U.S.S.G. § 4A1.1(c).      Thus, despite having had eleven previous

 misdemeanor convictions, Stadnisky had only four counted in the

 calculation of his criminal history.

             Stadnisky’s claim that his attorney failed to argue

 that his criminal history was overrepresented is insupportable.

 See Motion at 9 (“An argument that Mr. Stadnisky’s Criminal

 History Category was over-represented was not made at the

 sentencing hearing.”).      Stadnisky’s attorney strenuously objected

 to Stadnisky’s criminal history category.            Stadnisky’s attorney

 argued that “the guideline factors with regard to criminal

 history is really overdone” and that Stadnisky’s situation

 created “a larger criminal history score than is necessary in

 determining what ultimately should be done.”             Sentencing


                                        10
Case 1:04-cr-00363-SOM    Document 302    Filed 09/03/10    Page 11 of 15 PageID.2450



 Transcript at 23.

             To the extent Stadnisky argues that his counsel was

 ineffective in failing to move for a downward departure based on

 the criminal history, that argument fails.                Stadnisky cannot

 establish that such a motion would likely have been granted.

 Stadnisky’s attorney argued that the sentence and criminal

 history category were inappropriate.           The court disagreed.         The

 recasting of those arguments in a motion would not have made them

 more persuasive.        Most importantly, even if Stadnisky had been

 granted a downward departure to a criminal history category of V,

 his guideline range would have been 292 to 365 months.                 Even had

 Stadnisky been in criminal history category IV, his range would

 have been 262 to 327 months.        This court sentenced him to 240

 months, well within the range of 235 to 293 months that would

 have applied if Stadnisky had been in criminal history category

 III.   Stadnisky fails to show ineffectiveness or prejudice.

             Stadnisky also argues that his trial counsel was

 ineffective in having failed to inform him of the “true nature of

 his case, his lack of any viable defense, and the availability of

 a three-point downward departure of his Offense Level, for early

 acknowledgment of guilt.”        Motion at 12.       Stadnisky says that,

 had he been advised of the benefits of accepting responsibility,

 he would not have insisted on going to trial and would have

 instead pled guilty.


                                         11
Case 1:04-cr-00363-SOM   Document 302    Filed 09/03/10   Page 12 of 15 PageID.2451



             Stadnisky’s trial counsel states in a declaration that

 he expressly discussed the three-point reduction for early

 acceptance of responsibility with Stadnisky and the effect of a

 decision not to cooperate with law enforcement.             According to

 trial counsel, Stadnisky wanted to go to trial and reminded

 counsel that “he retained me to go to trial as his prior counsel

 kept pushing him to plead guilty which he was unwilling to do.”

 Trial counsel says he discussed the strength of the Government’s

 case with Stadnisky, noting the likely testimony by cooperating

 co-conspirators and the recordings of Stadnisky’s discussions

 with co-conspirators.      Trial counsel says he told Stadnisky that

 acquittals were rare, and that the court’s ruling on a critical

 motion in limine further strengthened the Government’s case.                Ex.

 C, attached to Memorandum in Opposition (Declaration of Counsel

 ¶¶ 5-6).

             Even if the court disregarded counsel’s thorough and

 detailed declaration and assumed without deciding that (1) trial

 counsel had failed to advise Stadnisky about the benefits flowing

 from an early acceptance of responsibility or (2) that trial

 counsel did not tell Stadnisky that, if he went to trial, he

 would more than likely be convicted, Stadnisky fails to establish

 that his counsel was ineffective.           Stadnisky fails to establish

 prejudice: that is, that his sentence would have been better.

 Stadnisky says that, had he accepted responsibility, his total


                                        12
Case 1:04-cr-00363-SOM   Document 302    Filed 09/03/10   Page 13 of 15 PageID.2452



 offense level would have been 33.           Even with such a total offense

 level, Stadnisky’s sentencing guideline range, with his criminal

 history category of VI, would have been between 235 and 293

 months.    This court sentenced Stadnisky to 240 months, a sentence

 toward the low end of that range.

             To establish ineffectiveness with respect to the

 guideline calculation, Stadnisky must show ineffectiveness

 concerning both the total offense level and the criminal history

 category.    Ineffectiveness in only one of those respects would

 not yield a guideline range better than Stadnisky’s actual

 sentence.    Stadnisky does not meet his burden of showing

 ineffectiveness in both respects.           Even if the court were to

 accept as true everything Stadnisky asserts, the court finds no

 evidence of ineffectiveness with respect to the guideline

 calculations.     Of course, the court was not compelled to sentence

 Stadnisky within the guideline range in any event, but

 Stadnisky’s entire petition focuses on the guideline calculation.

 The court sentenced Stadnisky to a prison term within what the

 guideline range would have been even if Stadnisky’s factual

 assertions were all assumed to be true.           While Stadnisky argues

 that his proper guideline range was between 168 and 235 months,

 that argument is premised on a mistaken reading of the law

 concerning criminal history category calculations.              The court

 need not, of course, take as true Stadnisky’s legal conclusions.


                                        13
Case 1:04-cr-00363-SOM   Document 302    Filed 09/03/10   Page 14 of 15 PageID.2453



 He thus shows no prejudice flowing from counsel’s action or

 inaction.

 V.          CERTIFICATE OF APPEALABILITY.

             A petitioner must obtain a certificate of appealability

 before pursuing any appeal from a final order in a § 2255

 proceeding.    See 28 U.S.C. § 2253(c)(1)(B).

             A court should issue a certificate of appealability

 only when the appeal presents a “substantial showing of the

 denial of a constitutional right.”          28 U.S.C. § 2253(c)(2).        As

 this court finds that reasonable jurists would not debate this

 court’s ruling on Stadnisky’s petition, the court declines to

 issue a certificate of appealability.

 VI.         CONCLUSION.

             The court denies Stadnisky’s petition for § 2255 relief

 without an evidentiary hearing, as the record conclusively shows

 that Stadnisky is not entitled to relief.            Additionally, the

 court declines to issue a certificate of appealability.




                                        14
Case 1:04-cr-00363-SOM   Document 302    Filed 09/03/10   Page 15 of 15 PageID.2454



                         IT IS SO ORDERED.

                         DATED: Honolulu, Hawaii September 3, 2010




                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     Chief United States District Judge




 Stadnisky v. United States of America, 04cr363; 10cv00225; ORDER DENYING
 MOTION TO VACATE, SET ASIDE, OR CORRECT A SENTENCE BY A PERSON IN FEDERAL
 CUSTODY UNDER 28 U.S.C. § 2255.



                                        15
